     Case 1:17-cv-00696-WKW-WC Document 14 Filed 02/01/18 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

ROBERT EARL HUMPHREY, on                )
behalf of himself and all others        )
similarly situated,                     )
              Plaintiff,                )
                                        )
      v.                                )      CASE NO. 1:17-cv-696-WKW-WC
                                        )
CBSI COLLECTION SERVICES,               )
         Defendant.                     )

           STIPULATION AND JOINT REQUEST FOR DISMISSAL
              OF NAMED PLAINTIFF WITH PREJUDICE AND
                PUTATIVE CLASS WITHOUT PREJUDICE

      The undersigned parties hereby stipulate and agree pursuant to F.R.C.P

41(a)(1)(A)(2) the claims of the named Plaintiff in this action be and hereby are

dismissed with prejudice, and the claims of the putative class in this action be and

hereby are dismissed without prejudice. Each party shall bear its own costs and

attorneys’ fees.

Dated: February 1, 2018.              RESPECTFULLY SUBMITTED,

                                      /s/ Diane L. Mulligan
                                      Diane L. Mulligan
                                      (Pro Hac Vice NJ Bar No. 015541989)
                                      Attorney for Robert Earl Humphrey
                                      LAW       OFFICES        OF   MICHAEL
                                      LUPOLOVER
                                      120 Sylvan Avenue, Suite 303
                                      Englewood Cliffs, NJ 07632
                                      T: (201) 461-0059
                                      dm@lupoloverlaw.com
      Case 1:17-cv-00696-WKW-WC Document 14 Filed 02/01/18 Page 2 of 2




                                   /s/ Brian C. Richardson
                                   F. Lane Finch, Jr. (ASB-0027-I58F)
                                   Brian C. Richardson (ASB-5241-H14U)
                                   Attorneys for Credit Bureau Systems, Inc.

OF COUNSEL:
SWIFT, CURRIE, MCGHEE & HIERS, LLP
2 North 20th Street, Suite 1405
Birmingham, AL 35203
T: (205) 314-2401
lane.finch@swiftcurrie.com
brian.richardson@swiftcurrie.com




                                     2

3617859v.2
